





















Opinion issued May 6, 2010



In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-09-00273-CR

———————————

Harold McVay, Appellant

V.

The State of
Texas, Appellee



&nbsp;



&nbsp;

On Appeal from the 185th District Court Harris
County, Texas



Trial Court Case No. 1196114

&nbsp;



&nbsp;

&nbsp;&nbsp;MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On April
26, 2010, appellant filed a motion to dismiss the above-referenced appeal.&nbsp; The motion complies with the Texas Rules of
Appellate Procedure.&nbsp; See Tex. R. App. P. 42.2(a).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
have not yet issued a decision.&nbsp;
Accordingly, the motion is granted and the appeal is dismissed.


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
Clerk of this Court is directed to issue the mandate within 10 days.&nbsp; Tex.
R. App. P. 18.1.

PER CURIAM

Panel
consists of Chief Justice Radack and Justices Alcala and Higley.

Do
not publish.&nbsp; &nbsp;Tex. R. App. P. 47.2(b).





